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   STATISTICAL INFORMATION ONLY: Debtor must select the number of each of the following items included in the Plan.

  _ Valuation of Security                       _ Assumption of Executory Contract or Unexpired Lease                                              _ Lien Avoidance




                                                                                                                                 Last revised: August 1, 2020
                                                             UNITED STATES BANKRUPTCY COURT
                                                                  DISTRICT OF NEW JERSEY

  In Re: William Freeman                                                                     Case No.: 22-19677

  Debtor(s)                                                                                  Judge: ___________

                                                                   Chapter 13 Plan and Motions

                                     Original                     Modified/Notice Required

                                     Motions Included             Modified/No Notice Required             Date:   01/09/2032

                                                          THE DEBTOR HAS FILED FOR RELIEF UNDER
                                                           CHAPTER 13 OF THE BANKRUPTCY CODE
                                                               YOUR RIGHTS WILL BE AFFECTED
  You should have received from the court a separate Notice of the Hearing on Confirmation of Plan , which contains the date of the confirmation hearing on
  the Plan proposed by the Debtor. This document is the actual Plan proposed by the Debtor to adjust debts. You should read these papers carefully and
  discuss them with your attorney. Anyone who wishes to oppose any provision of this Plan or any motion included in it must file a written objection within
  the time frame stated in the Notice. Your rights may be affected by this plan. Your claim may be reduced, modified, or eliminated. This Plan may be
  confirmed and become binding, and included motions may be granted without further notice or hearing, unless written objection is filed before the
  deadline stated in the Notice. The Court may confirm this plan, if there are no timely filed objections, without further notice. See Bankruptcy Rule 3015. If
  this plan includes motions to avoid or modify a lien, the lien avoidance or modification may take place solely within the chapter 13 confirmation process.
  The plan confirmation order alone will avoid or modify the lien. The debtor need not file a separate motion or adversary proceeding to avoid or modify a
  lien based on value of the collateral or to reduce the interest rate. An affected lien creditor who wishes to contest said treatment must file a timely
  objection and appear at the confirmation hearing to prosecute same.

  The following matters may be of particular importance. Debtors must check one box on each line to state whether the plan includes each of the following items. If an item is
  checked as “Does Not” or if both boxes are checked, the provision will be ineffective if set out later in the plan.


  THIS PLAN:
      DOES        DOES NOT CONTAIN NON-STANDARD PROVISIONS. NON-STANDARD PROVISIONS MUST ALSO BE SET FORTH IN PART 10.

     DOES     DOES NOT LIMIT THE AMOUNT OF A SECURED CLAIM BASED SOLELY ON VALUE OF COLLATERAL, WHICH MAY RESULTS IN
  A PARTIAL PAYMENT OR NO PAYMENT AT ALL TO THE SECURED CREDITOR. SEE MOTIONS SET FORTH IN PART 7, IF ANY.
     DOES     DOES NOT AVOID A JUDICIAL LIEN OR NONPOSSESSORY, NONPURCHASE-MONEY SECURITY INTEREST. SEE MOTIONS SET
  FORTH IN PART 7, IF ANY.



  Initial Debtor(s)' Attorney: KPL                                            Initial Debtor: WEF                              Initial Co-Debtor: ___




    Part 1: Payment and Length of Plan

          a. The debtor shall pay $3,900.00 per Month to the Chapter 13 Trustee, starting on        01/2023 for approximately 60 months.
          b. The debtor shall make plan payments to the Trustee from the following sources:
                        Future earnings

                        Other sources of funding (describe source, amount and date when funds are available):       daughter's contribution
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             c. Use of real property to satisfy plan obligations:
                         Sale of real property

                            Description: Debtor intends to sellhis real property and a Sale Motion will be fled on or before January 31, 2023 _______
                            Proposed date for completion: __April 30, 2023 ___
                        Refinance of real property:
                            Description: ____________________
                            Proposed date for completion: ____________________
                        Loan modification with respect to mortgage encumbering property:
                            Description: ____________________
                            Proposed date for completion: ____________________
         d.         The regular monthly mortgage payment will continue pending the sale, refinance or loan modification.

         e.         Other information that may be important relating to the payment and length of plan:




    Part 2: Adequate Protection                  None

         a. Adequate protection payments will be made in the amount of $ _______________ to be paid to the Chapter 13 Trustee and disbursed pre-confirmation
         to ______________________________ (creditor).
         b. Adequate protection payments will be made in the amount of $ _______________ to be paid directly by the debtor(s) outside the Plan, pre-confirmation
         to: ______________________________ (creditor).


    Part 3: Priority Claims (Including Administrative Expenses)

         a. All allowed priority claims will be paid in full unless the creditor agrees otherwise:

                                  Creditor                                        Type of Priority                          Amount to be Paid

  CHAPTER 13 STANDING TRUSTEE                                              ADMINISTRATIVE                   AS ALLOWED BY STATUTE

  ATTORNEY FEE BALANCE                                                     ADMINISTRATIVE                   BALANCE DUE: $9,000

  DOMESTIC SUPPORT OBLIGATION                                                                               $0.00

         b. Domestic Support Obligations assigned or owed to a governmental unit and paid less than full amount: Check one:
                None

             The allowed priority claims listed below are based on a domestic support obligation that has been assigned to or is owed to a governmental unit and will be paid
         less than the full amount of the claim pursuant to 11 U.S.C.1322(a)(4):

         Creditor                         Type of Priority                         Claim Amount                              Amount to be Paid




    Part 4: Secured Claims

   a. Curing Default and Maintaining Payments on Principal Residence
       NONE


   The Debtor shall pay to the Trustee (as part of the Plan) allowed claims for arrearages on monthly obligations and the debtor shall pay directly to the creditor (outside the
   Plan) monthly obligations due after the bankruptcy filing as follows:

                 Collateral or Type of                       Interest Rate on       Amount to be Paid to Creditor (In      Regular Monthly Payment (Outside
  Creditor                                Arrearage
                         Debt                                   Arrearage                        Plan)                                  Plan)




   b. Curing and Maintaining Payments on Non-Principal Residence & other loans or rent arrears:
       NONE


   The Debtor will pay to the Trustee (as part of the Plan) allowed claims for arrearages on monthly obligations and the debtor will pay directly to the creditor (outside the
   Plan) monthly obligations due after the bankruptcy filing as follows:

                 Collateral or Type of                       Interest Rate on       Amount to be Paid to Creditor (In      Regular Monthly Payment (Outside
  Creditor                                Arrearage
                         Debt                                   Arrearage                        Plan)                                  Plan)
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   c. Secured claims excluded from 11 U.S.C. 506:
       NONE


   The following claims were either incurred within 910 days before the petition date and are secured by a purchase money security interest in a motor vehicle acquired for the
   personal use of the debtor(s), or incurred within one year of the petition date and secured by a purchase money security interest in any other thing of value:

    Name of Creditor        Collateral    Interest Rate        Amount of Claim             Total to be Paid Through the Plan Including Interest Calculation




   d. Requests for valuation of security, Cram-down, Strip Off & Interest Rate Adjustments
       NONE


   1.) The debtor values collateral as indicated below. If the claim may be modified under Section 1322(b)(2), the secured creditor shall be paid the amount listed as the “Value
   of the Creditor Interest in Collateral,” plus interest as stated. The portion of any allowed claim that exceeds that value shall be treated as an unsecured claim. If a secured
   claim is identified as having “NO VALUE” it shall be treated as an unsecured claim.
                                                                NOTE: A modification under this Section ALSO REQUIRES
                                                               the appropriate motion to be filed under Section 7 of the Plan.

                           Scheduled        Total Collateral         Superior         Value of Creditor Interest in      Annual Interest        Total Amount to be
  Creditor Collateral
                             Debt               Value                 Liens                    Collateral                    Rate                      Paid




  2.) Where the Debtor retains collateral and completes the Plan, payment of the full amount of the allowed secured claim shall discharge the corresponding lien.

  e. Surrender
       NONE


  Upon confirmation, the stay is terminated as to surrendered collateral only under 11 U.S.C. 362(a) and that the stay under 11 U.S.C 1301            be terminated in all respects. The
  Debtor surrenders the following collateral:

    Creditor              Collateral to be Surrendered                       Value of Surrendered Collateral                     Remaining Unsecured Debt




   f. Secured Claims Unaffected by the Plan [ ] NONE
   The following secured claims are unaffected by the Plan:
   Picatinny Federal Credit Union



  g. Secured Claims to be Paid in Full Through the Plan:             NONE

  Creditor                   Collateral                    Total Amount to be Paid Through the Plan




    Part 5: Unsecured Claims
        NONE



         a. Not separately classified allowed non-priority unsecured claims shall be paid:
                        Not less than $2,700.00 to be distributed pro rata

                        Not less than % percent

                        Pro Rata distribution from any remaining funds
        b. Separately classified unsecured claims shall be treated as follows:

       Creditor                           Basis of Separate Classification                              Treatment                    Amount to be Paid




    Part 6: Executory Contracts and Unexpired Leases
        NONE



   (NOTE: See time limitations set forth in 11 U.S.C. 365(d)(4) that may prevent assumption of non-residential real property leases in this Plan.)
   All executory contracts and unexpired leases are rejected, except the following, which are assumed:

   Creditor         Arrears to be Cured in Plan                  Nature of Contract or Lease              Treatment by Debtor              Post-Petition Payment
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    Part 7: Motions           NONE

   NOTE: All plans containing motions must be served on all affected creditors, together with local form, Notice of Chapter 13 Plan Transmittal , within the time and in the
   manner set forth in D.N.J. LBR 3015-1. A Certification of Service must be filed with the Clerk of Court when the plan and transmittal notice are served.


   a. Motion to Avoid Liens Under 11. U.S.C. Section 522(f).            NONE
   The Debtor moves to avoid the following liens that impair exemptions:


                                                                                                                          Amount of             Sum of All Other
                                       Nature of                                 Amount of           Value of                                                         Amount of Lien
   Creditor                                                    Type of Lien                                               Claimed               Liens Against
                                       Collateral                                Lien                Collateral                                                       to be Avoided
                                                                                                                          Exemption             the Property




   b. Motion to Avoid Liens and Reclassify Claim from Secured to Completely Unsecured.
        NONE



  The Debtor moves to reclassify the following claims as unsecured and to void liens on collateral consistent with      Part 4 above:

                            Schedule        Total Collateral         Superior        Value of Creditor’s Interest in             Total Amount of Lien to be
  Creditor Collateral
                              Debt              Value                 Liens                    Collateral                               Reclassified




   c. Motion to Partially Void Liens and Reclassify Underlying Claims as Partially Secured and Partially Unsecured.             NONE
   The Debtor moves to reclassify the following claims as partially secured and partially unsecured, and to       void liens on collateral consistent with Part 4 above:


   Creditor    Collateral         Scheduled Debt        Total Collateral Value     Amount to be Deemed Secured                       Amount to be Reclassified as Unsecured




    Part 8: Other Plan Provisions

         a. Vesting of Property of the Estate
                        Upon confirmation

                        Upon discharge
         b. Payment Notices
         Creditors and Lessors provided for in Parts 4, 6 or 7 may continue to mail customary notices or coupons to the Debtor notwithstanding the automatic stay.
         c. Order of Distribution
          The Trustee shall pay allowed claims in the following order:
                 1) Ch.13 Standing Trustee Commissions
                 2) Other Administrative Claims
                 3) Secured Claims
                 4) Lease Arrearages
                 5) Priority Claims
                 6) General Unsecured Claims
         d. Post-Petition Claims
         The Trustee        is,     is not authorized to pay post-petition claims filed pursuant to 11 U.S.C. Section 1305(a) in the amount filed by the post-petition claimant.


    Part 9: Modification            NONE


         NOTE: Modification of a plan does not require that a separate motion be filed. A modified plan must be served in accordance with D.N.J. LBR 3015-2.
         If this Plan modifies a Plan previously filed in this case, complete the information below.
         Date of Plan being Modified: _________________________.

    Explain below why the plan is being modified:                                             Explain below how the plan is being modified:



          Are Schedules I and J being filed simultaneously with this Modified Plan?           Yes         No
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   Part 10: Non-Standard Provision(s): Signatures Required

   Non-Standard Provisions Requiring Separate Signatures:
       NONE

       Explain here:


   Any non-standard provisions placed elsewhere in this plan are ineffective.




   Signatures


   The Debtor(s) and the attorney for the Debtor(s), if any, must sign this Plan.
   By signing and filing this document, the debtor(s), if not represented by an attorney, or the attorney for the debtor(s) certify that the wording and order of the provisions in
   this Chapter 13 Plan are identical to Local Form, Chapter 13 Plan and Motions, other than any non-standard provisions included in Part 10.


   I certify under penalty of perjury that the above is true.
   Date: 01/09/2023                                                                        /s/ William Edward Freeman
                                                                                           Debtor
    Date:                                                                                  /s/


   Date: 01/09/2023                                                                        /s/ Karina Lucid
                                                                                           Attorney for the Debtor
